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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

   VASSILIOS KUKORINIS, on behalf of
   himself and those similarly situated,
                                                Case No.: 1:19-cv-20592-JEM
                 Plaintiffs,
                                                JOINT STIPULATION TO AMEND
          v.                                    COMPLAINT

   WAL-MART STORES, INC., a Delaware
   corporation

                 Defendant.


         Plaintiff, Vassilios Kukorinis (“Plaintiff”), and Wal-Mart Stores, Inc. (“Walmart”) provide

  notice that, pursuant to Rule 15(a)(2), Walmart has agreed, for settlement purposes, to permit

  Plaintiff to amend his Amended Complaint from a Florida-based complaint to a nationwide

  complaint. The Second Amended Complaint will be filed contemporaneously herewith.

  Dated: June 8, 2020                  Respectfully submitted,

   MORGAN & MORGAN                                     GREENBERG TRAURIG, P.A.
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                                                       Miami, Florida 33131
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       Counsel for Plaintiff Vassilios Kukorinis       Counsel for Defendant Walmart Inc




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 8, 2020, I electronically filed a true and correct copy

  of the foregoing unopposed motion with the Clerk of the Court using the CM/ECF system, which

  will send notification to all attorneys of record in this matter.

                                                          /s/ John A. Yanchunis
                                                          JOHN A. YANCHUNIS




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